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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



CHAIM KAPLAN, et al.,

                           Plaintiffs,      Case No. 08-cv-7253 (GBD)

v.                                          Oral Argument Requested

LEBANESE CANADIAN BANK, SAL,

                         Defendant.




             MEMORANDUM OF LAW OF DEFENDANT LEBANESE
           CANADIAN BANK, SAL IN SUPPORT OF MOTION TO STAY



October 27, 2021                         SQUIRE PATTON BOGGS (US) LLP

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                                 PRELIMINARY STATEMENT

       Defendant Lebanese Canadian Bank, SAL (“LCB”) hereby moves for an Order staying this

action in its entirety pending further developments in a closely-related action also pending before

this Court, Lelchook v. Lebanese Canadian Bank, SAL, No. 18-cv-12401-GBD (S.D.N.Y.)

(“Lelchook”). All of the parties to this action are also all parties in Lelchook, and the Plaintiffs

here assert the same injuries in Lelchook, arising out of the same alleged facts. However, Lelchook

also includes several new plaintiffs who are not parties to this case, and also names as additional

defendants two former LCB employees who are not defendants here.

       The undersigned, who entered their appearance as counsel for LCB in this action today,

are also counsel of record for LCB and one of the individual defendants, Mohamed Hamdoun, in

Lelchook.    LCB and Mr. Hamdoun intend to litigate the Lelchook action on the merits.

Accordingly, staying proceedings in this case will serve the interests of the parties and the Court

in litigating Plaintiffs’ claims on the merits while avoiding costly duplicative litigation. A stay of

this case pending the outcome in Lelchook will also serve the policy interest of having claims

decided on their merits, rather than by default; will avoid the risk that Plaintiffs here would unfairly

seek preclusive (res judicata) effect against LCB in Lelchook from a default judgment entered here;

and would be consistent with the principle that, if Plaintiffs lose on the merits in another case

(Lelchook), they should not be entitled to default judgment on the same claims in this action. Nor

will a stay burden or prejudice Plaintiffs, who are all parties in Lelchook and can proceed to litigate

their claims against LCB in that action.

       In the alternative, should the Court not grant a stay, LCB plans to move to vacate the default

entered against it in this action and oppose the motion for default judgment, based on the same

meritorious defenses it has to the identical factual allegations in Lelchook. LCB therefore



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respectfully requests that the Court take no action at this time on Plaintiffs’ pending motion for

default judgment.

                                          ARGUMENT

I.     THIS CASE SHOULD BE STAYED PENDING THE OUTCOME OF LELCHOOK.

       Further proceedings in this action, and in particular on Plaintiffs’ motion for judgment by

default should be stayed pending further proceedings in Lelchook, because (1) all of the Plaintiffs

here are also plaintiffs in Lelchook, and assert the same claims against LCB in Lelchook as here;

but (2) Lelchook also includes other plaintiffs and other defendants, and (3) LCB and Mr.

Hamdoun plan to defend the Lelchook action on the merits.

       As this Court has previously held, “[c]ourts have the ‘inherent power to dismiss or stay an

action in deference to a parallel’” action. Novasparks SA v. Enyxfpga, 344 F. Supp. 3d 666, 677

(S.D.N.Y. 2018) (Daniels, J.) (quoting Eskofot A/S v. E.I. Du Pont De Nemours & Co., 872 F.

Supp. 81, 89 (S.D.N.Y. 1995) (citing Caspian Inv., Ltd. v. Vicom Holdings, Ltd., 770 F. Supp. 880,

884 (S.D.N.Y.1991)); see also Szafarczyk v. Digital Art Solutions, Inc., No. 02-cv-5481 (GBD),

2003 U.S. Dist. LEXIS 9344, at *4 (S.D.N.Y. June 4, 2003) (noting that the Court had issued a

prior order granting a stay of the case “to streamline the litigation process and avoid duplicative

motion practice.”). Indeed, the Supreme Court has long recognized that “the power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants. How

this can best be done calls for the exercise of judgment, which must weigh competing interests and

maintain an even balance.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (citation omitted);

accord Clinton v. Jones, 520 U.S. 681, 684 (1997) (“the District Court has broad discretion to stay

proceedings as an incident to its power to control its own docket.”) (citing Landis, 299 U.S. at



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254); Range v. 480-486 Broadway, LLC, 810 F.3d 108, 113 (2d Cir. 2015) (noting that “a district

court possesses inherent authority to control the disposition of the causes on its docket and has

power to stay an action as an incident of that authority”) (citation and quotation omitted).

          “A court may decide in its discretion to stay civil proceedings when the interests of justice

seem to require such action.” Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 97 (2d

Cir. 2012) (alteration and emphasis omitted). “The decision whether to stay an action calls on a

district court’s ‘studied judgment,’ requiring the court to examine ‘the particular facts before it’

and determine ‘the extent to which . . . a stay would work a hardship, inequity, or injustice to a

party, the public or the court.’” Range, 810 F.3d at 113 (quoting Louis Vuitton Malletier, 676 F.3d

at 99).

          In determining whether to grant a motion to stay, courts have considered various factors,

including: “‘(1) the private interests of the plaintiffs in proceeding expeditiously with the civil

litigation as balanced against the prejudice to the plaintiffs if delayed; (2) the private interests of

and burden on the defendants; (3) the interests of the courts; (4) the interests of persons not parties

to the civil litigation; and (5) the public interest.’” Pappas v. Mypizza Techs., Inc., No. 20-CV-

5680, 2020 U.S. Dist. LEXIS 226769, at *2 (S.D.N.Y. Dec. 3, 2020) (quoting Kappel v. Comfort,

914 F. Supp. 1056, 1058 (S.D.N.Y. 1996)); Bowes v. Am. Eagle Outfitters, Inc., No. 18-cv-9004,

2021 U.S. Dist. LEXIS 23568, at *2-3 (S.D.N.Y. Feb. 8, 2021) (same). “These tests, however, no

matter how carefully refined, can do no more than act as a rough guide for the district court as it

exercises its discretion.” Louis Vuitton Malletier S.A., 676 F.3d at 99. “The district court’s




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decision ultimately requires and must rest upon a particularized inquiry into the circumstances of,

and the competing interests in, the case.” Id. (internal quotations and citation omitted).

       A stay of this action is warranted and should be granted because this case is closely related

to the parallel Lelchook action pending before this Court, and a default judgment against LCB in

this action would unfairly impact the parties in Lelchook. The Plaintiffs in this action are all also

plaintiffs in Lelchook, and they assert the same injuries arising out of the same factual allegations.

As the Related Case Statement filed in Lelchook (ECF #11, No. 18-cv-12401-GBD (S.D.N.Y.))

confirms, both this action and Lelchook “are civil actions for international terrorism under the

Antiterrorism Act, 18 U.S. C. sec. 2333, brought against the Lebanese Canadian Bank, SAL . . .

by U.S. citizens injured or killed by rockets fired by Hezbollah into Israel in 2006,” and “all the

plaintiffs in” this action “are also plaintiffs” in Lelchook. However, Lelchook “adds several new

plaintiffs who [are] not parties” to this action. Id. Additionally, unlike this action, Lelchook

“names as defendants senior officers of LCB who” plaintiffs allege “were involved in LCB’s

provision of banking service to Hezbollah.” Id. However, with the important exceptions of the

additional plaintiffs and additional defendants in Lelchook, “the two cases overwhelmingly overlap

in all material ways.” Id. See Novasparks, 344 F. Supp. 3d at 677 (“In general, ‘[s]uits are parallel

when substantially the same parties are contemporaneously litigating substantially the same issue

in another forum.’”) (quoting Niagara Mohawk Power Corp. v. Hudson River-Black River

Regulating Dist., 673 F.3d 84, 100 (2d Cir. 2012)).

       This case should be stayed in favor of Lelchook because Lelchook includes additional

plaintiffs and defendants who are not parties here, and defendants in Lelchook intend to defend

against plaintiffs’ claims there on the merits. A stay would not burden or prejudice the Plaintiffs

here, all of whom are also plaintiffs in Lelchook and who could proceed to litigate their claims on



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the merits in that case. Moreover, a stay would serve the interests of the courts and the public, as

it would serve judicial efficiency and avoid undue costs of the same parties litigating the same

claims in two different actions.

       A stay also would avoid a harsh and unfair burden not only on LCB, but also on the other

defendants in Lelchook, who are non-parties here. Should this Court enter a default judgment

against LCB here, the plaintiffs in Lelchook would likely seek to use it to preclusive effect against

LCB, and potentially against the other defendants, in that action. See N.Y. Stock Exch., Inc. v.

Sloan (In re Sloan), No. 880-08027-18, 1983 U.S. Dist. LEXIS 20505, at *8-9 (E.D.N.Y. July 11,

1983) (finding preclusive effect where debtor “appeared, answered, and participated in the pretrial

proceedings in the prior action” before failing to continue to appear). A stay here also would avoid

the discordant potential outcomes of a default judgment in favor of Plaintiffs here and a successful

defense against identical claims by the same plaintiffs (and others) on the merits in Lelchook. A

stay thus would be consistent with the principle that, if a plaintiff loses on the merits in one case,

it should not be entitled to judgment by default in a parallel case involving the same claims. See

Economist's Advocate, LLC v. Cognitive Arts Corp., No. 01 Civ. 9486 (RWS), 2004 U.S. Dist.

LEXIS 23502, 2004 WL 2650906, at *3 (“‘[i]f plaintiff loses on the merits, the complaint should

be dismissed against both defaulting and non-defaulting defendants.’” (quoting Exquisite Form

Indus., Inc. v. Exquisite Fabrics of London, 378 F. Supp. 403, 416 (S.D.N.Y. 1974)). “The reason

for this is plain: it might result in inconsistent judicial decrees, where a judgment is entered against

the defaulting defendant while the nondefaulting defendants are relieved from liability after trial.”

Bleecker v. Zetian Sys., Inc., No. 12 Civ. 2151, 2013 U.S. Dist. LEXIS 157103, at *6 (S.D.N.Y.

Nov. 1, 2013); see Henry v. Oluwole, No. 3:13-cv-826, 2021 U.S. Dist. LEXIS 185226, at *6-7




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(D. Conn. Sept. 28, 2021) (citing cases and recognizing that “a court should strive to avoid the

entry of logically inconsistent judgments against defaulting and non-defaulting defendants.”).

II.    IN THE ALTERNATIVE, THIS COURT SHOULD PERMIT LCB TO MOVE TO
       VACATE THE ENTRY OF DEFAULT AGAINST IT IN THIS ACTION.

       For the reasons set forth above, the Court should stay this action in favor of litigation on

the merits in Lelchook, should the Court decline to enter a stay, LCB would move to vacate the

default entered in this action. Consistent with the Court of Appeals’ mandate, which contemplated

further proceedings in this matter, LCB has meritorious legal and factual defenses to this action—

which apply as well to the substantially identical factual allegations in Lelchook. In summary,

those defenses are:

              Plaintiffs’ primary-liability claims and JASTA conspiracy claims must be
               dismissed pursuant to the mandate rule, which gives preclusive effect to this Court’s
               dismissal of those claims, because Plaintiffs did not challenge the dismissal of those
               claims on appeal, and the Court of Appeals remanded only for further consideration
               of Plaintiffs’ JASTA aiding-and-abetting claims.

              Plaintiffs’ primary-liability claims also are legally and factually deficient because
               LCB’s banking services were not an “act of international terrorism” and did not
               proximately cause Plaintiffs’ injuries.

              Plaintiffs’ JASTA conspiracy claim fails because, as the Second Circuit’s Kaplan
               decision reconfirmed, there can be no JASTA conspiracy liability absent evidence
               of an agreement between Defendant and the primary tortfeasors. There is no such
               evidence, or even plausible allegation, of such an agreement in either Kaplan or
               Lelchook.

              There can be no JASTA aiding-and-abetting liability as to LCB, because Plaintiffs
               will not be able to establish, as a factual matter, that LCB was aware of its
               customers’ connections with Hezbollah before the relevant attacks, or that LCB’s
               customers were so “closely intertwined” with Hezbollah’s “violent terrorist
               activities” that one can reasonably infer LCB was “generally aware of its role in
               unlawful activities from which the attacks were foreseeable” at the time it provided
               financial services to the alleged customers. Honickman v. BLOM Bank SAL, 2021
               U.S. App. LEXIS 22480, at *3 (2d Cir. July 29, 2021) (citing Kaplan v. Lebanese
               Canadian Bank, 999 F.3d 842, 860 (2d Cir. 2021)).

              Plaintiffs’ JASTA aiding-and-abetting liability claim is also deficient because
               Plaintiffs will not be able to establish as a factual matter that LCB had “actual

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                knowledge” that it was providing “substantial” assistance to the primary wrong, i.e.
                the relevant attacks.

        Accordingly, should the Court determine not to stay this action, LCB respectfully requests

the opportunity to submit a motion in opposition to default judgment and in support of vacating

the default entered against it.


                                         CONCLUSION

        All further proceedings in this action should be stayed pending the outcome of Lelchook.



                                                     Respectfully submitted.

 October 27, 2021                                    SQUIRE PATTON BOGGS (US) LLP

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